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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 16-62902-CIV-ZLOCH

  WILLIAM MCLEOD, individually and
  on behalf of all others similarly situated,

                         Plaintiffs,

                 v.

  MONAKER GROUP, INC., f/k/a
  NEXT 1 INTERACTIVE, INC., et al.,

                         Defendants.
                                                  /

                        DEFENDANT, D’ARELLI PRUZANSKY, P.A.’S,
                      MOTION TO DISMISS CLASS ACTION COMPLAINT
                       AND INCORPORATED MEMORANDUM OF LAW
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           Pursuant to Rules 9(b) and 12(b)(6), Federal Rules of Civil Procedure, the Private
  Securities Litigation Reform Act of 1995 (“PSLRA”), and other applicable law, Defendant,
  D’Arelli Pruzansky, P.A. (“DAP”), respectfully moves to dismiss Plaintiff, William McLeod’s
  (“Plaintiff”), Complaint, upon the following grounds:
  I.       INTRODUCTION
           This action is in essence a shareholder derivative suit in disguise. At its core, this is
  nothing more than a complaint by a disgruntled shareholder who alleges internal corporate
  mismanagement. Plaintiff accuses various Defendants of securities fraud under Section 10(b) of
  the Securities Exchange Act of 1934 and Rule 10b-5. But Plaintiff’s single claim against DAP is
  far narrower, in that DAP’s role as an outside auditor is fundamentally different from that of an
  issuer of securities or of an issuer’s management. As an accounting firm and outside auditor,
  DAP stands apart from the other Defendants, and Plaintiff’s effort to plead a viable claim against
  DAP for participating in the alleged fraudulent scheme falls woefully short.
           By this action, an accredited investor who neither purchased nor sold a single share of
  Monaker Group, Inc., f/k/a Next 1 Interactive, Inc.’s (“Monaker”)1 common stock in the “open
  market” is claiming—without any details of any kind—that the market price of that company’s
  thinly-traded “penny stock” was somehow artificially inflated over a four-year period. Plaintiff
  bases this assertion on his belief that Monaker did not itemize, in its audited financial statements,
  various intercompany transfers or advances of money to one of the company’s fully-disclosed
  subsidiaries- RealBiz Media Group, Inc. (“RealBiz”).
           Plaintiff fails to satisfy the heightened pleading burden under Rule 9(b) and the additional
  pleading requirements under the PSLRA. Specifically, Plaintiff fails to plead with the requisite
  heightened specificity that Monaker’s outside accountants—with whom he had no interactions of
  any kind—intentionally misrepresented or omitted material facts to him in connection with his
  purchase or sale of Monaker common stock and upon which he relied to his detriment. He fails
  to allege that DAP was involved in any scheme to defraud investors with any specificity
  whatsoever.     In so doing, Plaintiff ignores a panoply of adverse financial information and
  disclosures in the company’s public filings that, when taken together, remove any possible
  materiality from the allegedly undisclosed intercompany transfers (which transfers are actually
  being disputed by the alleged transferee in separate litigation). Plaintiff also ignores the simple

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      Next 1 Interactive, Inc. changed its name to Monaker Group, Inc. on June 24, 2015.
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  fact that DAP actually employed appropriate accounting and auditing standards and procedures
  with respect to its treatment of intercompany transactions and balances. Finally, despite his
  utilization of a “fraud on the market” theory to satisfy the reliance element of a 10b-5 claim,
  Plaintiff ignores a host of disclosures in the company’s public filings explaining that its shares
  did not trade in an open, efficient market and were, therefore, essentially illiquid.
         This perhaps explains why Plaintiff fails to state either the price at which he allegedly
  purchased common shares of Monaker stock in the open market, or the price of that stock after
  Monaker filed the allegedly corrected disclosures in 2016. In other words, Plaintiff fails to
  provide even the most basic factual information required to support his assertion that Monaker’s
  stock price was “artificially inflated” at any point during the class period. Plaintiff also fails to
  provide any factual support for his general contention that the company’s stock price declined in
  2016 following the issuance of the so-called corrective disclosures. In fact, Plaintiff rather
  obviously fails to identify any actual stock prices in his complaint, much less the prices at which
  he actually purchased and sold shares of Monaker stock in the open market. These omissions are
  fatal to Plaintiff’s securities fraud claim against DAP.
  II.    FACTUAL AND PROCEDURAL BACKGROUND
         Rather than recite facts already stated by Defendants, Monaker, William Kerby and Don
  Monaco (collectively the “Defendants”), DAP incorporates by reference Defendants’ Statement
  of Facts (ECF No. 30 at pp. 3-4). In addition, DAP asserts the following:
         Plaintiff is a purported lead class plaintiff that purchased convertible, preferred shares
  directly from Monaker through a private offering, as an accredited investor (ECF Nos. 8 and 25).
  Monaker is a media based company utilizing video as a key driver to create consumer awareness
  of products and opportunities in the travel, home and employment sectors. Exhibit “A” at p. 6. 2
  Defendant William Kerby has been the Chief Executive Officer of Monaker since 2008.
  Complaint at ¶ 16. Since 2015 Defendant Don Monaco has been the Chairman of the Board for
  Monaker and has served on the Monaker Board of Directors since 2011. Complaint at ¶ 17.

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    In a securities fraud case such as this, a court may take judicial notice of public documents filed
  with the SEC such as the 10-Ks referenced in Plaintiff’s Complaint. In re Jiangbo
  Pharmaceuticals, Inc., Securities Litigation, 884 F.Supp.2d 1243, 1255 (S.D. Fla. 2012) (citing
  Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir.1999)). The Monaker Form 10-Ks
  filed for the fiscal years ending February 29, 2012 (Exhibit “A”), February 28, 2013 (Exhibit
  “B”), February 28, 2014 (Exhibit “C”) and February 28, 2015 (Exhibit “D”) are attached hereto.


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  DAP is a public accounting firm that served as an auditor of Monaker’s financial statements
  during the purported class period of April 6, 2012 through June 23, 2016 (the “Class Period”).
  Complaint at ¶ 20. According to Plaintiff, the relevant class consists of all persons who acquired
  Monaker stock during the Class Period. Id. at ¶ 1.
           On or about October 19, 2012, Plaintiff made his first purchase of Monaker stock through
  a subscription agreement. ECF No 25 at p. 9.3 At that time, he purchased 6,000 Convertible
  Preferred Class D shares of Monaker stock. Id. Plaintiff acquired these preferred shares directly
  from Monaker through a private offering, as an accredited investor. Id. Plaintiff did not acquire
  these preferred shares on the open market, and contrary to the allegations contained in paragraph
  13 of the Complaint, Plaintiff’s certification does not evidence that he purchased shares of
  Monaker common stock. Over the next two years, Plaintiff made three additional purchases of
  Monaker stock through private offerings. ECF No. 25 at pp. 4, 5 and 7. Plaintiff did not acquire
  these preferred shares on the open market, and contrary to the allegations contained in paragraph
  13 of the Complaint, Plaintiff’s certification does not evidence that he purchased shares of
  Monaker common stock.
           Prior to Plaintiff’s purchase of Monaker shares, and throughout the Class Period,
  Monaker’s public filings highlighted the perilous financial situation Monaker was facing. The
  10-K filed for the fiscal year ending February 29, 2012, provided that Monaker had “an
  accumulated deficit of $66,983,176.” Exhibit “A” at p. 92. Despite the clear warning signs,
  Plaintiff went forward with his purchase of Monaker stock and continued to purchase preferred
  shares over the next two years.
           Plaintiff alleges that Monaker was “secretly funding” RealBiz for many years.
  Complaint at ¶ 85. Plaintiff relies on the 10-Ks filed by Monaker to support his claims that
  Monaker paid up to $11.1 million of Monaker’s funds into RealBiz’ operations. Id. However,
  Plaintiff ignores the true relationship between Monaker and RealBiz. On October 9, 2012,
  RealBiz became a consolidated subsidiary of Monaker. This transaction was disclosed on
  Monaker’s 2013 10-K. Exhibit “B” at p. 38. On October 31, 2014, when Monaker’s interest in
  RealBiz dropped below 50%, the two companies were deconsolidated. Exhibit “D” at p. 5.
  While RealBiz was a consolidated subsidiary of Monaker, Monaker was not only entitled to
  “eliminate” intercompany transactions on its financial statements, but was required to do so

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      ECF Nos. 8 and 25 are incorporated by reference into the Complaint. Complaint at ¶ 13.
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  under Generally Accepted Accounting Principles (“GAAP”). See, e.g., Exhibit “C” at p. 72.
  Once RealBiz was deconsolidated, Monaker began reporting the intercompany transactions on its
  10-Ks.
           On December 9, 2016, this action was filed. On December 16, 2016, the Court entered
  an order dismissing Plaintiff’s state law cause of action for negligence against DAP (ECF No.
  7).4 DAP now files this motion to dismiss because Plaintiff fails to state a viable securities fraud
  claim against it.
  III.     ARGUMENT
  A.       Incorporation Of Defendants’ Argument
           DAP incorporates by reference Defendants’ Argument set forth in Section III of its
  Motion to Dismiss. (ECF No.30 at pp. 6-21).

  B.       Plaintiff Fails To Satisfy The Required Heightened Pleading Requirements
           In a private securities fraud claim under § 10(b) of the Securities Exchange Act of 1934
  and Securities and Exchange Commission Rule 10b–5, Plaintiff must allege and prove: (1) a
  material misrepresentation or omission by the defendant; (2) scienter; (3) a connection between
  the misrepresentation or omission and the purchase or sale of a security; (4) reliance upon the
  misrepresentation or omission; (5) economic loss; and (6) loss causation. Amgen Inc. v.
  Connecticut Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1191–92, 185 L. Ed. 2d 308 (2013). To
  survive a motion to dismiss, Plaintiff must satisfy: (1) the federal notice pleading requirements in
  Federal Rule of Civil Procedure 8(a)(2); (2) the fraud pleading requirements in Federal Rule of
  Civil Procedure 9(b); and (3) the additional pleading requirements in the PSLRA. In re Galectin
  Therapeutics, Inc. Sec. Litig., 843 F.3d 1257, 1269 (11th Cir.2016).
           Under the pleading standards set forth in Federal Rule of Civil Procedure 8(a)(2), the
  complaint must generally “contain sufficient factual matter, accepted as true, to ‘state a claim to
  relief that is plausible on its face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell
  Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). In order to properly plead under Rule 9(b),
  the complaint must specify: 1) precisely what statements were made in what documents or oral


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    The Court’s order dismissed Plaintiff’s state law negligence claim (Count VI) but inadvertently
  labeled it as Count V which is Plaintiff’s federal claim for Violations of 10(b) of the Exchange
  Act. This Motion to Dismiss is directed to Count V which is the only surviving claim as to DAP.

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  representations or what omissions were made; 2) the time and place of each such statement and
  the person responsible for making it (or, in the case of omissions, not making); 3) the content of
  such statements and the manner in which they misled the plaintiff; and 4) what the defendants
  obtained as a consequence of the fraud. Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194, 1202 (11th
  Cir.2001).
         In addition to the already heightened pleading requirements under Rule 9, the PSLRA
  provides that a plaintiff “must specify each statement alleged to have been misleading, the reason
  or reasons why the statement is misleading, and, if an allegation regarding the statement or
  omission is made on information and belief, the complaint shall state with particularity all facts
  on which that belief is formed.” 15 U.S.C. § 78u–4(b)(1)(B). Second, the PSLRA requires that
  scienter allegations, for each alleged act or omission, must “state with particularity facts giving
  rise to a strong inference that the defendant acted with the required state of mind.” 15 U.S.C. §
  78u–4(b)(2)(A).
  C.     Plaintiff Failed To Identify Misrepresentations Of Material Fact Made By DAP
         i.      Plaintiff Failed To Properly Allege DAP Made A Misstatement or Concealed
                 Certain Facts
         A plaintiff in an action brought under Section 10(b) must demonstrate that the defendant
  made a misstatement or omission and that such statements were material. To fulfill the
  materiality requirement, “there must be a substantial likelihood that the disclosure of the omitted
  fact would have been viewed by the reasonable investor as having significantly altered the ‘total
  mix’ of information made available.” Oxford Asset Mgmt. v. Jaharis, 297 F.3d 1182, 1189 (11th
  Cir.2002) (citing Basic Inc. v. Levinson, 485 U.S. 224, 23132, 108 S.Ct. 978, 99 L.Ed.2d 194
  (1988)). Material misrepresentations or omissions “must state with particularity the
  circumstances constituting fraud.” Instituto De Prevision Militar v. Merrill Lynch, 546 F.3d
  1340, 1352 (11th Cir.2008)(quoting Rule 9(b)). Moreover, the PSLRA requires the complaint
  specify each misleading statement and why the information was misleading. Philadelphia Fin.
  Mgmt. of San Francisco, LLC v. DJSP Enterprises, Inc., No. 10-61261-CIV, 2011 WL 4591541,
  at *11 (S.D. Fla. Sept. 30, 2011)(Zloch, J).
         Plaintiff fails to adequately allege that he purchased, held or sold shares of Monaker
  stock based on any material representation or omission made by DAP. Plaintiff simply makes the
  sweeping statement that he and other purported class members “purchased Monaker stock based


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  on materially false and misleading information causing them to suffer damages…” Complaint at
  ¶ 92. Though Plaintiff sets forth what he believes to be various issues with the publicly disclosed
  financial information, he does not point to any specific statements or omissions by DAP that
  induced him into purchasing Monaker stock. “A sufficient level of factual support for a [10b]
  claim may be found where the circumstances of the fraud are pled in detail. ‘This means the
  who, what, when where, and how: the first paragraph of any newspaper story.’” Garfield v. NDC
  Health Corp., 466 F.3d 1255, 1262 (11th Cir.2006)(quoting Gross v. Medaphis Corp., 977
  F.Supp. 1463, 1470 (N.D.Ga.1997) (quoting DiLeo v. Ernst & Young, 901 F.2d 624, 627 (7th
  Cir.1990)). Plaintiff allegations do not provide this level of specificity.
         In order to survive dismissal as to DAP, in its role as auditor for Monaker, Plaintiff “must
  allege facts that, if true, would permit a conclusion that the auditors knew that they had no
  reasonable basis for their opinion.” In re Colonial Bancgroup, Inc. Sec. Litig., 9 F. Supp. 3d
  1258, 1265 (M.D. Ala. 2014). Plaintiff’s claim may only survive “if no reasonable auditor, with
  access to the type of information present in [Monaker's] books and records, would have made the
  decision to issue a clean audit report.” Id. at 1267 (internal citations omitted). Here, DAP never
  issued a clean audit report.     Rather, each audit report issued by DAP regarding Monaker
  contained an emphasis of matter paragraph, highlighting the expression of substantial doubt
  regarding Monaker’s ability to continue as a going concern. See, e.g., Exhibit “C” at p. 77.
  Rather than provide these details, Plaintiff simply alleges that DAP violated accounting
  principles by failing to identify errors in Monaker’s financial statements. Complaint at ¶ 79.
         Plaintiff does not allege that DAP prepared Monaker’s financial statements or any of the
  purported false or misleading information contained within those documents. Instead, Plaintiff
  merely alleges that DAP should have been more conscientious when auditing the Monaker
  financials and that it failed to “ascertain and disclose such facts as would reveal the materially
  false and misleading nature of the financial statements….” Complaint at ¶ 123 In reality, the 10-
  Ks at issue include a statement from DAP that it was not responsible for and did not audit
  Monaker’s internal controls. See, e.g., Exhibit “B” at p. 72. (“[DAP] is not required to have, nor
  were we engaged, to perform, an audit of [Monaker’s] internal control over financial reporting.
  Our audit included consideration of internal control over financial reporting as a basis for
  designing audit procedures…but not for the purpose of expressing an opinion of the Company’s
  internal control over financial reporting.”).

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         ii.     RealBiz Was A Subsidiary Of Monaker Until October 31, 2014
         The 10-Ks filed by Monaker paint a much different picture than Plaintiff’s
  unsubstantiated allegations. Plaintiff baldly asserts that DAP’s “failure to disclose material
  information to Plaintiff and the other members of the Class during the Class Period” was a
  violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5. Complaint at ¶ 125. Under
  the plain language of Rule 10b-5, the omission of a material fact can only be actionable if the
  party had a duty to disclose the fact. Thompson v. RelationServe Media, Inc., 610 F.3d 628 (11th
  Cir. 2010). In this case, the purported hidden transactions between RealBiz and Monaker did not
  require disclosure in the public filings because RealBiz was a subsidiary of Monaker during the
  relevant timeframe. See, e.g., Exhibit “C” at p. 72.
         The Financial Accounting Standards Board enacted the FASB Accounting Standards
  Codification as the source of generally accepted accounting principles in 2009. Meyer v. St. Joe
  Co., No. 5:11-CV-27, 2012 WL 94584, at *7, n 5 (N.D. Fla. Jan. 12, 2012). Topic 810 of the
  FASB Accounting Standards Codification (“ASC”) entitled “Consolidation” provides that
  intercompany items and transactions should be eliminated in a company’s filed consolidated
  financial statements. See, ASC Topic 810, Subtopic 810-10-S99-4. Statement of Financial
  Accounting Standards No. 94 (“FAS 94”) notes that consolidated financial statements are
  prepared to:
         present, primarily for the benefit of the shareholders and creditors of the parent company,
         the results of operations and the financial position of a parent company and its
         subsidiaries essentially as if the group were a single company with one or more branches
         or divisions.

  See, e.g., AIMCOR v. United States, 23 C.I.T. 621, 629 (1999) (applying Financial Accounting
  Standards stating that “ARB 51, as amended by FAS 94, requires that all investments in which a
  parent company has a controlling financial interest represented by the direct or indirect
  ownership of a majority voting interest (more than 50%) be consolidated, except those in which
  (a) control of the subsidiary is temporary, or (b) significant doubt exists regarding the parent's
  ability to control the subsidiary.”) Monaker “is justified in utilizing consolidated financial
  statements when corporate control, whether direct or indirect, exists.” Id         “[A]ccounting
  standards require the ‘elimination’ of intercompany transactions, so that income is not inflated
  due to internal transactions that merely transfer profits and/or assets from one part of the



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  company to another.” In re Ikon Office Sols., Inc. Sec. Litig., 131 F. Supp. 2d 680, 704 (E.D. Pa.
  2001).
           As the Monaker 10-Ks illustrate, RealBiz was a subsidiary of Monaker until October 31,
  2014 when its equity interest in RealBiz eventually dropped below 50%. Exhibit “D” at p. 5.
  While Monaker was a majority shareholder in RealBiz, it was entitled to “eliminate”
  intercompany transactions between itself and its subsidiary RealBiz.                   Prior to the
  deconsolidation, Monaker’s 10-Ks provided specific statements related to the consolidated
  financial statements and the elimination of transactions with RealBiz as follows:




  See, e.g., Exhibit “C” at p. 72. Once RealBiz was deconsolidated from Monaker the 10-K
  reflected the change in Monaker’s ownership interest. Specifically, the 10-K for the fiscal year
  ending February 28, 2015 stated:




  Exhibit “D” at p. 23. Going forward, Monaker’s financial disclosures began to include the
  transactions between the two companies:




  Id. at p. 71. Since Monaker had no duty to disclose these transactions on its financial statements,
  DAP’s representations and purported “omissions” regarding the intercompany transactions were
  accurate. “Silence, absent a duty to disclose, is not misleading under Rule 10b-5.” Basic, 485
  U.S. 224 at n. 17.
           iii.   Plaintiff Did Not Allege The Materiality Of The Alleged Misrepresentations
           Even if the purported misrepresentations (which are not actually identified by Plaintiff)
  were sufficient to satisfy Plaintiff’s pleading obligation, his failure to link the materiality of any
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   of DAP’s purported statements to the purchase of Monaker stock is fatal to his claim. Plaintiff’s
   allegations fail to address how any of DAP’s alleged omissions or misrepresentations altered the
   information that was made available prior to his purchase. Oxford Asset Mgmt., 297 F.3d at
   1189. Instead, Plaintiff vaguely claims that DAP’s opinions “were materially false and
   misleading in that they failed to disclose materially adverse information and misrepresented the
   truth about Monaker’s finances.” Complaint at ¶ 122. All of the information that he claims was
   misrepresented or concealed was actually made available and disclosed in Monaker’s public
   filings.
              Since Plaintiff failed to allege that DAP made false or misleading material statements this
   Complaint must be dismissed. DJSP Enterprises, Inc., 2011 WL 4591541, at *15. See also,
   Sands Point Partners, L.P. v. Pediatrix Med. Grp., Inc., No. 99-6181, 2000 WL 35593026, at *3
   (S.D. Fla. Jan. 19, 2000) (Zloch, J). (“Based on the foregoing, the Court finds that the Plaintiffs
   have failed to set forth with adequate particularity in their Amended Class Action Compliant (DE
   27) the factual basis for their belief that the Defendants engaged in securities fraud as required by
   the PSLRA. Therefore, the Defendants are entitled to dismissal.”).
   D.         DAP Did Not Act With The Requisite Scienter
              i.     Plaintiff Must Allege DAP Acted With Recklessness Or Intent To Defraud
              When the PSLRA went into effect, it imposed a requirement that Plaintiff must “state
   with particularity facts giving rise to a strong inference that the defendant acted with the required
   state of mind” in order to maintain his cause of action. 15 U.S.C. § 78u–4(b)(2)(A). “The ‘strong
   inference’ of scienter required under the PSLRA is an inference that is ‘cogent and at least as
   compelling as any opposing inference one could draw from the facts alleged.’” Jiangbo
   Pharmaceuticals, Inc., Securities Litigation, 884 F.Supp.2d 1243, 1255 (S.D. Fla. 2012), aff’d,
   781 F.3d 1296 (11th Cir.2015)(quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
   308, 324, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007). “In making this determination, a court must
   consider the complaint in its entirety, not any particular allegation in isolation.” Id. (citing
   Makor at 322, 127 S.Ct. 2499). The issue of scienter is “very fact-specific, requiring
   consideration of each individual factor as well as the context as a whole.” In re Eagle Bldg.
   Techs., Inc., Sec. Litig., 319 F. Supp. 2d 1318, 1326 (S.D. Fla. 2004). The allegations of scienter
   cannot be pled generally and must be pled with particularity. Mizzaro v. Home Depot, Inc., 544
   F.3d 1230, 1238 (11th Cir.2008). “[T]o determine whether a complaint's scienter allegations can

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   survive threshold inspection for sufficiency, a court … must engage in a comparative evaluation;
   it must consider, not only inferences urged by the plaintiff… but also competing inferences
   rationally drawn from the facts alleged.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
   308, 314, 127 S. Ct. 2499, 2504, 168 L. Ed. 2d 179 (2007).
           In the Eleventh Circuit, § 10(b) and Rule 10b–5 require a showing of either an “intent to
   deceive, manipulate, or defraud,” or “severe recklessness” to satisfy the scienter requirement
   Thompson v. RelationServe Media, Inc., 610 F.3d 628, 634 (11th Cir.2010). While “factual
   allegations may be aggregated to infer scienter, scienter must be alleged with respect to each
   defendant with respect to each alleged violation….” FindWhat Inv'r Grp. v. FindWhat.com, 658
   F.3d 1282, 1296 (11th Cir. 2011). See also, Mizzaro, 544 F.3d 1230 at 1238 (“[T]he complaint
   must allege facts supporting a strong inference of scienter for each defendant with respect to
   each violation.”)(internal quotation marks omitted); Phillips v. Sci.-Atlanta, Inc., 374 F.3d 1015,
   1018 (11th Cir.2004)(In order to “proceed beyond the pleading stage,” Plaintiff “must allege
   facts sufficiently demonstrating each defendant's state of mind regarding his or her alleged
   violations.” ).
           While Plaintiff makes sweeping allegations about the Defendants as a whole, Plaintiff
   makes no allegations to isolate DAP’s own state of mind or DAP’s own intention to deceive.
   See, e.g., Complaint at ¶ 82 (The Defendants’ secret with respect to the true state of Monaker’s
   financial statements started to unravel….”)(emphasis added); Complaint at ¶ 92 (…Defendants’
   materially false and misleading statements or omissions alleged herein directly or proximately
   caused the damages suffered…)(emphasis added).5
           ii.       DAP Did Not Act With Severe Recklessness During Its Audits Of Monaker
                     Financial Statements
           Though Plaintiff uses the buzzword “reckless” in some allegations as to DAP, he fails to
   provide any specific factual support required by the heightened standard under the PSLRA.

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     This type of lump pleading is defective with regard to fraud allegations. Cordova v. Lehman
   Brothers, Inc., 526 F.Supp.2d 1305, 1313 (S.D.Fla.2007) (“Rule 9(b) does not allow a complaint
   to merely ‘lump’ multiple defendants together but ‘require[s] plaintiffs to differentiate their
   allegations when suing more than one defendant ... and inform each defendant separately of the
   allegations surrounding his alleged participation in the fraud.’”)(internal citations omitted);
   Great Florida Bank v. Countrywide Home Loans, Inc., 2011 WL 382588, at *3 (S.D. Fla. Feb. 3,
   2011) (finding dismissal proper where plaintiff pled “in a way that obscures the identity of the
   party or parties that are alleged to have actually committed the fraudulent actions.”).

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   Severe recklessness is “limited to those highly unreasonable omissions or misrepresentations”
   involving “an extreme departure from the standards of ordinary care, and that present a danger of
   misleading buyers or sellers which is either known to the defendant or is so obvious that the
   defendant must have been aware of it.” Id. Severe recklessness on the part of an independent
   auditor requires “a mental state so culpable that it approximate[s] an actual intent to aid in the
   fraud being perpetrated.” La. Sch. Employees’ Ret. Sys. v. Ernst La. Sch. Employees’ Ret. Sys &
   Young, LLP, 622 F.3d 471, 479 (6th Cir. 2010) (internal citations omitted).
            Plaintiff alleges that DAP was reckless because DAP failed to ascertain and disclose facts
   that would reveal the materially false and misleading nature of Monaker’s financial statements.
   Complaint at ¶ 123. Plaintiff alleges this was “especially true” given that DAP “audited the
   financial statements of both Monaker and RealBiz during the Class Period and was in an
   overwhelmingly superior position to identify the fraud on the part of Monaker.” Id. Plaintiff
   goes on to allege DAP “allowed materially-misstated financial statements to go undetected…”
   and that its “reckless conduct” caused a loss to Plaintiff. Id. at ¶¶ 20 and 125. Plaintiff believes
   that because DAP had access to both Monaker and RealBiz’ financial information, DAP was in a
   “superior position to catch the fact that the Monaker financial statements were materially
   misstated…” Id. at ¶ 69. Plaintiff also suggests that DAP was reckless because it allowed
   purported monetary transfers between the companies to “go undetected for years” and that DAP
   failed to “catch” the “secret and substantial monetary transfers from Monaker to RealBiz” Id. at ¶
   70. In doing so, DAP allegedly “breached the professional standards” and assisted defendants
   Kerby and Monaco in their “concealment of the true financial condition of Monaker.” Id. at ¶¶
   78-79.
            However, Plaintiff must do more than allege that DAP had access to information which
   would have revealed the purported issues with Monaker’s financial statements. Colonial
   Bancgroup, Inc., 9 F. Supp. 3d at 1267. If DAP was “not aware of facts indicating that a
   transaction was suspicious, or part of a fraud, the auditor's failure to investigate the transaction—
   even if negligent—does not provide a basis for a fraud claim.” In re CBI Holding Co., Inc., 419
   B.R. 553, 566–67 (S.D.N.Y.2009). When claiming that an auditor such as DAP acted with the
   requisite reckless disregard, a plaintiff must show that “the accounting practices were so
   deficient that the audit amounted to no audit at all, or an egregious refusal to see the obvious, or
   to investigate the doubtful…” Brophy v. Jiangbo Pharm., Inc., 781 F.3d 1296, 1307 (11th Cir.

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   2015)(quoting In re Worlds of Wonder Secs. Litig., 35 F.3d 1407, 1426 (9th Cir.1994) (quoting
   SEC v. Price Waterhouse, 797 F.Supp. 1217, 1240 (S.D.N.Y.1992)).
          Plaintiff claims to take issue with the way in which DAP conducted its audit. But “[i]t is
   simply not sufficient to allege that a defendant should have performed a better or more thorough
   investigation of the financials at issue or that the auditor had access to the information by which
   it could have discovered the fraud.” Colonial Bancgroup, Inc., 9 F. Supp. 3d at 1267. As one
   Court noted, “merely because a person has broad access to every book in a library does not mean
   that the person has read and chosen to ignore facts contained in a particular book in the library.
   Merely alleging that [the auditor] had broad access to [the client's] operations at best supports an
   inference that [the auditor] was negligent, and more likely supports nothing at all.” In re
   aaiPharma, Inc., Securities Litig., 521 F.Supp.2d 507, 513–14 (E.D.N.C.2007).
          The failure of a “non-fiduciary accounting firm to identify problems with a company's
   internal controls and accounting practices does not constitute recklessness.” 9 F. Supp. 3d at
   1267 (quoting In re Longtop Financial Technologies Ltd. Securities Litigation, 939 F.Supp.2d
   360, 377 (S.D.N.Y.2013). See also, In re Dell, Inc. Sec. Litig., 591 F. Supp. 2d 877, 902 (W.D.
   Tex. 2008) (“[C]ourts have recognized an auditor’s failure to detect weaknesses in a company’s
   internal controls alone is insufficient to determine the auditor acted with scienter, even when a
   restatement later acknowledges deficiencies.”); In re BISYS Sec. Litig., 397 F. Supp. 2d 430, 450
   (S.D.N.Y. 2005)(alleging that auditor ignored “weakness in accounting controls” did not
   establish scienter). “In the context of red flags, courts have also noted that an auditor’s access ‘to
   the information by which it could have discovered the fraud is not sufficient’ to establish
   recklessness. In other words, auditor access is not tantamount to auditor awareness.” 9 F. Supp.
   3d at 1268 (quoting In re Tremont Sec. Law, State Law & Ins. Litig., 703 F.Supp.2d 362, 371
   (S.D.N.Y.2010)) (emphasis in original).
          As the outside auditor for Monaker, DAP’s audit reports cover Monaker’s financial
   statements taken as a whole. DAP applies audit procedures to the internal information in support
   of its report on Monaker’s financial statements. However, DAP did not, nor was it required to,
   report specifically on Monaker’s internal financial information. Furthermore, if any false
   statements were made, they were made by others, not DAP. “That [the auditor] should have been
   suspicious of [the company’s] lack of internal controls does not render the audit so fraught with
   recklessness....” Grand Lodge of Penn. v. Peters, 550 F.Supp.2d 1363, 1373 (M.D.Fla.2008).

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   Given that Monaker was not only allowed to eliminate, but was required to eliminate, the
   intercompany transactions with its subsidiary RealBiz as part of its financial statements, DAP’s
   audit did not fail to show the “millions of dollars owed by RealBiz to Monaker” See, e.g.,
   Exhibit “C” at p. 72. Plaintiff’s allegations fail to give rise to a strong inference that DAP was
   inept or that there was any recklessness in its role as external auditor. Brophy v. Jiangbo
   Pharm., Inc., 781 F.3d 1296, 1307 (11th Cir.2015).
          Mere negligence is also insufficient to establish an inference of scienter based under a
   recklessness theory. Id. Even if errors were made my DAP (which they were not), this does not
   rise to the level necessary to show that DAP had the requisite intent. The Eleventh Circuit
   rejected the notion that errors are enough to satisfy the scienter requirement. In Garfield v. NDC
   Health Corp., 466 F.3d 1255 (11th Cir.2006) the Court stated that:
          If we were to accept [Plaintiff’s] proffered interpretation of Sarbanes–Oxley, scienter
          would be established in every case where there was an accounting error or auditing
          mistake made by a publicly traded company, thereby eviscerating the pleading
          requirements for scienter set forth in the PSLRA. We decline to adopt such an
          interpretation.

   Id. at 1266. Even if Plaintiff alleged that DAP committed GAAP and GAAS violations, such
   allegations alone are “not enough to establish a strong inference of scienter on the part of the
   independent auditor even if the auditor is grossly negligent in carrying out its responsibilities.” In
   re Faro Techs. Sec. Litig., 534 F. Supp. 2d 1248, 1266 (M.D. Fla. 2007).
          iii.    DAP Did Not Act With An Intent To Deceive Or Defraud Monaker Investors
          Plaintiff’s allegations fail to make the requisite showing of any intent to deceive,
   manipulate, or defraud Monaker investors by DAP. As the district court found in Jiangbo
   Pharmaceuticals, Inc., “Plaintiffs’ allegations are insufficient to show that [defendant] knew of
   any fraud or that the alleged false or misleading information contained in the Company’s public
   statements were so obvious that [it] must have been aware of it.” 884 F.Supp.2d at 1262.
   Plaintiff’s allegations are woefully short of the standard required to establish that DAP had any
   fraudulent intent in its role as external auditor of Monaker’s financial records.
          As an external auditor, DAP was one step more removed than the other defendants from
   any alleged indicators of the purported fraud. See, Reiger v. PricewaterhouseCoopers LLP, 117
   F.Supp.2d 1003, 1007–08 (S.D.Cal. 2000) (“[B]ecause an independent accountant often depends
   on its client to provide the information base for the audit, it is almost always more difficult to

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   establish scienter on the part of the accountant than on the part of its client.”). “An outside
   auditor will typically not have an apparent motive to commit fraud, and its duty to monitor an
   audited company for fraud is less demanding than the company's duty not to commit fraud.
          Moreover, there is no allegation that DAP had any financial stake in the stock price or
   that it stood to benefit if the stock was somehow inflated. Plaintiff simply alleges that DAP
   received its “audit fees” for RealBiz from Monaker between 2012 and April of 2015. Complaint
   at ¶ 72. Since Plaintiff failed to allege what, if anything, DAP actually obtained as a result of the
   alleged fraud, his claim fails. In re Eagle Bldg. Techs., Inc., Sec. Litig., 319 F. Supp. 2d 1318,
   1332 (S.D. Fla. 2004).
          Plaintiff also fails to identify any motive that DAP would have to be complicit in a
   scheme to defraud investors.6 That is because no such motive exists. “An accountant’s greatest
   asset is its reputation for honesty, followed closely by its reputation for careful work. Fees for
   two years’ audits could not approach the losses [an auditor] would suffer from a perception that
   it would muffle a client’s fraud.” DiLeo v. Ernst & Young, 901 F.2d 624, 629 (7th Cir. 1990).
          Finally, as in Jiangbo Pharmaceuticals, Plaintiff alleges that DAP is no longer
   Monaker’s auditor. However, “[t]he mere departure of executives or auditors, without more, is
   insufficient to support a strong inference of scienter, and Plaintiffs fail to allege any facts linking
   the departures with the alleged accounting fraud.” 884 F.Supp.2d at 1268. See also, In re
   Sportsline.com Sec. Litig., 366 F.Supp.2d 1159, 1172 (S.D.Fla.2004) (“The instant Complaint,
   however, fails to plead any connection between the resignation of [the former president of
   corporate and business development and the former president of operations] and the accounting
   errors that led [the company] to restate its financial statements.”).
   E.     Plaintiff Failed To Plead Reliance
          i.      Plaintiff Must Show Actual Reliance Or A Rebuttable Presumption
          As announced by the Supreme Court, “[i]nvestors can recover damages in a private
   securities fraud action only if they prove that they relied on the defendant's misrepresentation in
   deciding to buy or sell a company's stock.” Halliburton Co. v. Erica P. John Fund, Inc., 134 S.
   Ct. 2398, 2405, 189 L. Ed. 2d 339 (2014)(emphasis added). The reliance element “‘ensures that
   there is a proper connection between a defendant's misrepresentation and a plaintiff's injury.’”

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    The Court can take into consideration Plaintiff’s lack of allegations regarding DAP’s fraudulent
   motive in its scienter analysis. Tellabs, 551 U.S. at 325.
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   Amgen, 133 S. Ct. at 1191–92, (quoting Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.
   804, 131 S.Ct. 2179, 180 L.Ed.2d (2011)). Plaintiff must show that the DAP's fraud—as opposed
   to some other factor—proximately caused his claimed losses. FindWhat, 658 F.3d at 1309. In
   order to do so, Plaintiff must either allege that a misstatement induced him to enter into the stock
   transaction or through a rebuttable presumption under a fraud-in-the market theory.
          ii.     The Fraud-On-The-Market Theory Is Inapplicable
          In order to properly invoke a fraud-on-the-market theory, Plaintiff must show that
   Monaker stock was traded in an efficient market. According to the Supreme Court, that occurs
   when “in an open and developed securities market, the price of a company's stock is determined
   by the available material information regarding the company and its business.” Basic, 485 U.S.
   224 at 241(quoting Peil v. Speiser, 806 F.2d 1154, 1160 (3d Cir.1986)). See also, In re Sahlen &
   Assocs., Inc. Sec. Litig., 773 F. Supp. 342, n 17. (S.D. Fla. 1991) (an efficient market is “(1)
   [o]ne which a large number of persons can buy or sell; (2) [o]ne which has a relatively high level
   of activity and frequency, and for which trading information…is widely available…; and
   (3)[o]ne which rapidly reflects new information in price.”).
          The Complaint makes vague and conclusory allegations that Monaker stock is traded in
   an efficient market and that its shares were liquid. Complaint at ¶ 28 (c)-(d). As disclosed in the
   Monaker 10-Ks, the “Risk Factors” clearly rebut Plaintiff’s assertion that Monaker stock was
   liquid or that it was traded in an efficient market. For example, the 10-K filed four months before
   Plaintiff initially purchased Monaker stock warned as follows:




   Exhibit “A” at p. 30. The 2013-2015 10-Ks also reiterated this position. See, Exhibit “B” at p.
   29, Exhibit “C” at p. 27 and Exhibit “D” at p. 17.




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          The fraud-on-the market presumption also requires that a plaintiff purchase his shares on
   the open market and not through a private sale. In re Sahlen & Assocs., 773 F. Supp. 342 at n.
   14. Plaintiff alleges that he purchased “common stock, as set forth in the accompanying
   certification, which is incorporated by reference herein, and has been damaged thereby.”
   Complaint at ¶ 13. Though Plaintiff did not attach the certification to his Complaint, he
   subsequently filed the document which stated that:
           My transactions in Monaker Group, Inc. f/k/a Next 1 Interactive, Inc. which are the
          subject of this litigation during the class period are set forth in the exhibit hereto.

   ECF No. 8 at ¶4 (emphasis added). While Plaintiff did not attach the referenced exhibit to his
   certification, he subsequently filed it on February 3, 2017 (ECF No. 25), and it is incorporated by
   reference into the Complaint.
          “Plaintiff’s Investment Information” includes four separate Subscription Agreements
   (ECF No. 25 at pp. 4, 5, 7 and 9). The Subscription Agreements show that Plaintiff purchased
   Convertible Preferred Class C and D shares of Next 1 Interactive, Inc. (now known as Monaker)
   between October of 2012 and September of 2014. These private offerings did not include the
   purchase of any common stock, but rather, provided Plaintiff with the option to convert his
   shares into common stock at a later date if he chose to do so. Id. Plaintiff makes no allegation
   that his shares were ever converted nor does he attach any transactions that indicate he converted
   his preferred shares into common stock. Plaintiff’s certification also fails to state that he ever
   separately purchased common stock on the open market or that the shares were ever sold. Where,
   as here, the exhibits attached and incorporated into a complaint “contradict the general and
   conclusory allegations of the pleading, the exhibits govern.” Griffin Industries, Inc. v. Irvin, 496
   F.3d 1189, 1206 (11th Cir.2007).
          Plaintiff cannot dispute his own sworn certification which clearly shows his only
   Monaker stock transactions were completed through private purchases. As a result, Plaintiff “is
   not entitled to rely on a fraud on the market theory as [he] did not buy securities in the open
   market, but rather, in a private dealing.” In re Sahlen & Assocs., 773 F. Supp. 342 at n. 14. See
   also, In re MDC Holdings Sec. Litig., 754 F. Supp. 785, 804 (S.D. Cal. 1990) (“This court has
   previously noted that the fraud on the market presumption of reliance is not available where the
   securities were offered in more or less private dealings.”); Platsis v. E.F. Hutton & Co. Inc., 642
   F. Supp. 1277, 1301 (W.D. Mich. 1986), aff'd, 829 F.2d 13 (6th Cir. 1987) (“The “market” upon

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   which the plaintiff “relied” is not the type of market encompassed by the fraud on the market
   theory. Plaintiff did not purchase on an open market, but in fact purchased through direct contact
   with the issuer via the prospectuses and the private placement memoranda. Accordingly, the
   fraud on the market theory is in[a]pposite to the facts of this case.”).
           “While reliance focuses on the front-end causation question of whether the defendant's
   fraud induced or influenced the plaintiff's stock purchase, loss causation provides the ‘bridge
   between reliance and actual damages.’” FindWhat, 658 F.3d 1282 at 1311 (quoting In re Cooper
   Cos. Sec. Litig., 254 F.R.D. 628, 638 (C.D.Cal.2009)). “[I]n a fraud-on-the-market case, the
   plaintiff must prove not only that a fraudulent misrepresentation artificially inflated the security's
   value but also that ‘the fraud-induced inflation that was baked into the plaintiff's purchase price
   was subsequently removed from the stock's price, thereby causing losses to the plaintiff.’”
   Hubbard       v.     BankAtlantic       Bancorp,        Inc., 688    F.3d     713,     725      (11th
   Cir.2012) (quoting FindWhat, 658 F.3d at 1311).         Plaintiff failed to make any such allegations
   and a presumption of reliance based on fraud-on-the market is not appropriate in this case.
          iii.    Plaintiff Cannot Allege Reliance On Any DAP Statements
          Plaintiff also fails to adequately plead actual reliance on statements made by DAP. He
   makes no allegation that he purchased or sold shares of Monaker based on any statements made
   or omitted by DAP. In fact, all of the warning signs regarding Monaker’s financial situation and
   its purchase of RealBiz shares were spelled out for Plaintiff and other investors in Monaker’s
   public filings. The fact that Plaintiff chose to ignore the public disclosures cannot justify his
   reliance. For example, each of the 10-Ks from 2012-2015 included a section entitled “Risk
   Factors” that specifically set forth Monaker’s perilous financial situation. (See, Exhibit “A” at
   pp. 25-33, Exhibit “B” at pp. 23-31, Exhibit “C” at pp. 19-29 and Exhibit “D” at pp. 12-19). The
   10-Ks evidence that Monaker was also illiquid prior to Plaintiff’s purchase of Monaker stock:




   Exhibit “A” at p. 92. These going concerns were also listed on the 2013-2015 10-Ks. See,
   Exhibit “B” at pp. 91-92, Exhibit “C” at p. 77 and Exhibit “D” at p. 64. Monaker’s purchase of a
   majority interest in RealBiz was also spelled out for investors in Monaker’s 10-Ks. See, Exhibit

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   “B” at p. 38. Plaintiff failed to point to any actual statements made by DAP that could constitute
   reliance on his behalf. His cause of action against DAP fails on this basis as well.
   F.     Plaintiff Allegations Regarding Loss Causation And Actual Loss Are Deficient
          i.      Plaintiff Did Not Allege A Connection Between Any Misrepresentations And
                  A Suffered Loss
          Plaintiff failed to properly plead loss causation as to DAP. Pursuant to the PSLRA,
   Plaintiff must also plead that each alleged misrepresentation or omission “caused the loss for
   which he seeks to recover damages.” See, 15 U.S.C. § 78u–4(b)(4). This requires the Plaintiff to
   demonstrate not only that he purchased Monaker stock in reliance on an actionable
   misrepresentation, but also that the misrepresentation proximately caused the relevant economic
   loss. Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 346, 125 S. Ct. 1627, 1633–34, 161 L. Ed. 2d
   577 (2005). Plaintiff has not adequately pled loss causation which is defined as a “causal
   connection between the material misrepresentation and the loss.” Id. at 342. Plaintiff must
   “allege that the subject of the fraudulent statement or omission was the cause of the actual loss
   suffered, i.e., that the misstatement or omission concealed something from the market that, when
   disclosed, negatively affected the value of the security.” Durham v. Whitney Info. Network, Inc.,
   No. 06-CV-00687, 2009 WL 3783375 at * (M.D. Fla. Nov. 10, 2009)(internal citations omitted).
          Plaintiff could, in theory, show loss causation by: “(1) identifying a “corrective
   disclosure” (a release of information that reveals to the market the pertinent truth that was
   previously concealed or obscured by the company's fraud); (2) showing that the stock price
   dropped soon after the corrective disclosure; and (3) eliminating other possible explanations for
   this price drop, so that the factfinder can infer that it is more probable than not that it was the
   corrective disclosure—as opposed to other possible depressive factors—that caused at least a
   ‘substantial’ amount of the price drop.” FindWhat, 658 F.3d at 1311.
          Plaintiff makes no mention of the stock price anywhere in his Complaint. His failure to
   do so renders his ability to allege causation impossible. “Establishing a connection between a
   drop in stock price and the disclosure of the “truth” about a defendant's previous misstatement or
   omission is essential in pleading loss causation.” In re TECO Energy, Inc. Sec. Litig., No. 8:04-
   CV-1948, 2006 WL 845161, at *2 (M.D. Fla. Mar. 30, 2006). When an auditor is accused of
   violating Section 10(b), “the plaintiff must plead that the market reacted negatively to some
   disclosure correcting the falsity in the . . . auditor’s statements (and not simply the underlying


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   fraud).” Amoroso v. Ernst & Young LLP, 682 F. Supp. 2d 351, 363 (S.D.N.Y. 2010). In other
   words, the disclosure must reveal that the auditor’s opinion was false. Id.
           Instead of properly alleging loss causation, Plaintiff’s contradicts himself by stating that
   the “market price of Monaker stock was artificially inflated throughout the Class Period,” while
   at the same time alleging that “Monaker’s stock price was continually depressed and
   manipulated…” Complaint at ¶¶ 37 and 111. Rather than pointing to a specific drop in stock
   price, he simply alleges that the “stock fluctuated rapidly” during the Class Period. Complaint at
   ¶ 87.   Plaintiff makes no allegation whatsoever about the common stock price at the time of
   purchase and where it stands today. It is possible, based on the absence of allegations, that the
   stock price went up. Even if the price somehow fell after a corrective disclosure, Plaintiff has not
   alleged any correlation between the disclosure and a price drop.              “When the purchaser
   subsequently resells such shares, even at a lower price, that lower price may reflect, not the
   earlier misrepresentation, but changed economic circumstances, changed investor expectations,
   new industry-specific or firm-specific facts, conditions, or other events, which taken separately
   or together account for some or all of that lower price.” Dura Pharm., U.S. 336 at 342–43.
   Plaintiff’s loss causation allegations are entirely inadequate as to DAP.
           ii.    Plaintiff Does Not Adequately Allege An Actual Loss
           The PSLRA mandates that “the plaintiff shall have the burden of proving that the act or
   omission of the defendant alleged to violate this chapter caused the loss for which the plaintiff
   seeks to recover damages.” 15 U.S.C. § 78u–4(b)(4). In other words, “[a] private plaintiff who
   claims securities fraud must prove that the defendant's fraud caused an economic loss.” Dura
   Pharm., U.S. 336 at 338. Plaintiff has not alleged, and likely could not allege, that if here were
   to sell his shares, he would suffer a loss as a result of DAP’s alleged misrepresentations and
   omissions. There is no allegation in the Complaint that the Plaintiff (or the other class members)
   sold any shares of Monaker stock and suffered an actual loss.
           Plaintiff’s purported loss allegations are vague and conclusory. They fail to specify how
   the stock price was impacted, what losses were suffered or that DAP’s misrepresentations or
   omissions caused the stock price to drop. Even if the Plaintiff purchased common stock in an
   open and efficient market, he fails to allege that the corrective disclosure had any impact on the
   stock price. Given the amount of information set forth in the public disclosures, it defies logic to
   suggest that the purported omission of intercompany transfers impacted the share price of

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   Monaker’s common stock during the Class Period. In fact, any funds spent by Monaker on
   RealBiz would actually inure to the benefit of Monaker shareholders since Monaker owned
   shares of RealBiz. Plaintiff’s allegations as to this element are deficient and provide yet another
   basis for dismissal.
   IV.    CONCLUSION

           For the foregoing reasons, DAP respectfully requests this Court enter an Order
   dismissing Count V of the Complaint as to DAP, with prejudice.



                                         Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 17th day of February, 2017, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
   document is being served this day on all counsel of record identified below via transmission of
   Notices of Electronic Filing generated by CM/ECF or as otherwise specified below.

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